Case 3:16-md-02738-MAS-RLS           Document 33310     Filed 10/03/24       Page 1 of 2 PageID:
                                   ORDER  261825




  Susan M. Sharko                                                        Faegre Drinker Biddle & Reath LLP
  Partner                                                                600 Campus Drive
  susan.sharko@faegredrinker.com                                         Florham Park, New Jersey 07932
  973-549-7350 direct                                                    +1 973 549 7000 main
                                                                         +1 973 360 9831 fax




  Via E-Filing

  September 30, 2024

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re:        In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
             Practices and Products Liability Litigation - MDL 2738

  Dear Judge Singh:

       We write to update the Court on a hearing held today before U.S. Bankruptcy Judge
  Christopher Lopez related to discovery on various matters. In that hearing, upon a request
  from counsel for the Coalition (which includes Andy Birchfield), Judge Lopez clarified
  he was administratively staying all matters – both offensively and defensively – until
  October 11. Of course, we will continue to update the Court on further developments that
  impact this matter.

            Thank you for your consideration of these matters.

                                               Respectfully,

                                               /s/ Susan M. Sharko
                                               Susan M. Sharko
                                               FAEGRE DRINKER
                                               BIDDLE & REATH LLP

                                               /s/ Stephen D. Brody
                                               Stephen D. Brody
                                               O’MELVENY & MYERS LLP
 Hon.3:16-md-02738-MAS-RLS
Case  Rukhsanah L. Singh, U.S.M.J. Document 33310    Filed 10/03/24    Page 2 of 2 PageID:
 September 30, 2024                     261826
 Page 2



                                            Attorneys for Defendants
                                           Johnson & Johnson and
                                           LLT Management, LLC
 SMS/scg
 Cc: Jeffrey M. Pollock (via e-mail)
 Encl: (0)




                            In light of the above report as to proceedings pending before the
                            United States Bankruptcy Court for the Southern District of Texas,
                            and further exercising this Court's discretion to manage its own
                            docket, the Clerk of Court shall ADJOURN the return date for the
                            Motion to Remove Beasley Allen from the PSC (Doc. No. 33290) to
                            November 4, 2024. The parties shall file with the Court an update as
                            to the status of the bankruptcy proceedings by no later than October
                            12, 2024. So Ordered.

                                s/ Rukhsanah L. Singh     .
                            RUKHSANAH L. SINGH
                            UNITED STATES MAGISTRATE JUDGE

                            Date: October 3, 2024
